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                           UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON



UNITED STATES OF AMERICA                         CR 05-60008-02-HO

              v.

PIROUZ SEDAGHATY,                                DECLARATION OF COLLEEN
                                                 ANDERSON
                      Defendant.

In re AL RAJHI BANK SUBPOENA

AL RAJHI BANKING &
INVESTMENT CORP,
Real party in interest

                      Respondent.
I, Colleen Anderson, state that:

1. I am a Special Agent (S/A) with the Internal Revenue Service - Criminal Investigation
(IRS-CI), assigned to the Medford, Oregon Post-of-Duty. As a special agent, I
investigate possible violations of the Internal Revenue Code (Title 26 United States
Code), the Money Laundering Control Act (Title 18 United States Code), and the Bank
Secrecy Act (Title 31 United States Code).


2. I have been a special agent with IRS-CI since December 1995 and have conducted
and assisted in numerous criminal investigations involving violations of federal tax laws,
money laundering laws, and other related offenses where I have gained experience in
locating, tracing, and corroborating financial information pertaining to the receipt and
disposition of funds. I have been assigned to the Pirouz Sedaghaty investigation since
approximately February of 2002.


INVESTIGATIVE RESULTS

3. Through an analysis of bank records and financial documents obtained during the
course of this investigation, the investigation has shown that in February of 2000 an
individual in Egypt named Mahmoud El-Fiki donated US $150,000 to the Al-Haramain
Islamic Foundation (AHIF). Although AHIF is headquartered in Saudi Arabia, El-Fiki
chose to wire the funds to an AHIF account in Oregon at the Bank of America (BOA) on
February 24, 2000.




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4. Shortly after the funds were received by Oregon AHIF, codefendant Soliman Al-
But’he, a Saudi national residing and working for AHIF in Riyadh, flew to Oregon in early
March 2000 to retrieve the funds. On March 10, 2000 Al-But’he and defendant
Sedaghaty went to the BOA in Ashland, Oregon and withdrew the donated funds by
converting the $150,000 into 130 $1,000 American Express traveler’s checks. The next
day the two returned to the bank and purchased a $21,000 BOA cashier’s check made
payable to Al-But’he.


5. Al-But’he returned to Saudi Arabia on March 13, 2000. On March 14, 2000, Al-
But’he went to an Al-Rajhi Banking and Investment Corp (Al-Rajhi Bank) branch in
Saudi Arabia and appears to have cashed the AMEX traveler’s checks for currency.
For reimbursement, bank records show Al-Rajhi Bank sent the AMEX traveler’s checks
to one of its US correspondent banks, Chase Manhattan (now JP Morgan Chase) in the
US.


6. Al-But’he appears to have deposited the $21,000 BOA cashier’s check into an
account at Al-Rajhi, most likely at the same time he cashed the traveler’s checks. The
account number is 140608010109206 and appears to be a personal account for
Soliman Al-But’he. Bank records show that Al-Rajhi Bank processed for payment the
cashier’s check through another US correspondent bank, US Bank. In turn, bank
records show US Bank requested payment of the $21,000 from BOA on March 30,
2000.


CONCLUSION

7. As a financial investigator, it is clear that the records pertaining to the disposition of
the $130,000 and the $21,000 would be maintained by Al-Rajhi Bank, who processed
the instruments through its US correspondent accounts with JP Morgan Chase and US
Bank. A review of the Clearing House Interbank Payment Systems (CHIPS) website,
www.chips.org, shows Al-Rajhi Banking and Investment Corp still utilizes JPMorgan


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Chase Bank to process financial instruments through the US banking systems. As of
January 27, 2010, the website shows US Bank no longer appears to be an active
correspondent account for Al-Rajhi Bank.


      I declare under penalty of perjury that the foregoing is true and correct.




      Executed on January 28, 2010.




                                                Colleen Anderson
                                                Special Agent, IRS-CI




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